  Case 5:18-cv-00358-DAE Document 2 Filed 04/20/18 Page 1 of 4




                CASENCA.8CAU3)8
                IN THE UNITED STATES DISTRICT COURT
                                                    DAE
                  FOR THE WESTERN DISTRICT OF TEXAS


JULIETTE FMRLEY,           id'J   P   Fh'J 0 t   fh                          F   I   L   ED
Plaintiff              OE '(V\                   &r)I?
                                                                             APR 2 0     201/
VS.
MAURICETTE FAIRLEY, md.                                                 BY
 and as Guardian of the person of
James E. Fairley, De endant




MOTION AND PROPOSED ORDER FOR ELECTRONIC CASE FILING

TO THE HONORABLE JUDGE OF SAID COURT:

         COMES NOW the Plaintiff, Juliette Fairley ("Juliette"), as daughter

and heir of James Fairley ("James") and sues Mauricette Fairley ("Fairley"),

guardian of James Fairley, and moves the Court for permission to e-file in

the above captioned case. Juliette hereby affirms that:

1.1   have reviewed the requirements for e-fihing and agree to abide by them.

2.1   understand that once I register for c-filing, I will receive notices and doc-

 uments only by email in this case and not by regular mail.

3.1   have regular access to the technical requirements necessary to e-file sue-

 cessftilly:

            A.A computer with internet access;
  Case 5:18-cv-00358-DAE Document 2 Filed 04/20/18 Page 2 of 4




         B.An email account on a daily basis to receive notifications from

           the Court and notices from the c-filing system.

         C.A scanner to convert documents that are only in paper format into

           electronic files;

         D.A printer or copier to create to create required paper copies such

           as chambers copies;

         E.A word-processing program to create documents;

         F. A PDFreader and a PDF writer to convert word processing doc-
           uments into PDF format, the only electronic format in which
           documents can be c-filed.

Plaintiff respectfully requests the Court for permission to c-file



P.O. Box 1497
New York, NY 10276
 646 709 7828
JulietteFairl ey@gmail.com
  Case 5:18-cv-00358-DAE Document 2 Filed 04/20/18 Page 3 of 4




                        CERTIFICATE OF SERVICE

I, Juliette Fairley, HEREBY CERTIFY that a true and correct copy of the
Motion to E-file and Proposed Order has been served in an authorized man-
ner by mail or delivery this    day of              2018 to the Defendant
or the Defendant's counsel.              I




P.O. Box 1497
New York, NY 10276
 646 709 7828
JulietteFairley@gmail.com
  Case 5:18-cv-00358-DAE Document 2 Filed 04/20/18 Page 4 of 4




              IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF TEXAS


JUILIETTE FAIRLEY,
Plaintiff

VS.
MAURICETTE FAIRLEY, md.
 and as Guardian of the person of
James E. Fairley, Defendant


[PROPOSED] ORDER FOR ELECTRONIC FILING

      The COURT has considered the Plaintiff's Motion for Permission for

Electronic Case Filing. Finding that good cause exists, the Motion is

GRANTED. IT IS SO ORDERED




 UNITED STATES DISTRICT JUDGE


DATED:
